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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,
V.

RICHARD W. MCDONOUGH,

)
)
)
) Cr. No. 09-10166-MLW
)
Defendant. )

MEMORANDUM AND ORDER

 

WOLF, D.J. March 29, 2018
I. INTRODUCTION

On September 9, 2011, a jury convicted Salvatore DiMasi and
Richard McDonough, a lobbyist, for conspiring to commit honest
services mail fraud, honest services wire fraud, and extortion
under color of official right, as well as for honest services mail
fraud and wire fraud. §§§ 18 U.S.C. §§371, 1341, 1343, 1346, and
1951. The evidence at trial showed, in essence, that McDonough
conspired with his client, Joseph Lally, to pay DiMasi to use his
official power as Speaker of the Massachusetts House of
Representatives to obtain more than $17,000,000 in state software
contracts for Lally's employer, Cognos Corporation, and later his
company, Montvale Solutions. Lally pled guilty, cooperated with
the government, and testified at trial against DiMasi, McDonough,
and a fourth alleged co-conspirator, Richard Vitale, who was
acquitted. The payments to DiMasi were made in the form of

purported referral fees through his unwitting associate in the

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practice of law Stephen Topazio, and through Vitale. §e§ United
States v. DiMasi, 810 F. Supp. 2d 347, 356-62 (D. Mass. Aug. 30,
2011).

The court denied the defendants' motions for acquittal and a
new trial. ld; DiMasi was sentenced to eight years in prison and
McDonough to seven years in prison. The court subsequently denied

their motions for release pending appeal. See United States v.

 

DiMasi, 817 F. Supp. 2d 9, 12 (D. Mass. Oct. 11, 2011). McDonough
began serving his sentence on November 30, 2011. In 2013, the First
Circuit affirmed McDonough's conviction and sentence. See United

States v. McDonough, 727 F. 3d 143, 166 (1st Cir. 2013). On January

 

27, 2014, the Supreme Court denied certiorari, and his conviction

and sentence became final. See McDonough v. United States, 134 S.

 

Ct. 1041 (2014).1

On January 26, 2015, McDonough timely filed a petition to
vacate his conviction and sentence pursuant to 28 U.S.C. §2255
(the "Petition"). McDonough asserts that his trial counsel, Thomas
Drechsler, was constitutionally ineffective because: (1) he

"fail[ed] to investigate and present expert testimony regarding

 

1 McDonough was released on January 3, 2017, one year before what
would ordinarily have been the expiration of his sentence. The
Bureau of Prisons released McDonough early because it found that
he successfully completed its Residential Drug and Alcohol Abuse
Program. See United States v. McDonough, 233 F. Supp. 3d 231, 236-
39 (D. Mass. 2017). McDonough is now serving his two-year term of
Supervised Release.

 

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the 'blurred' but critical distinction between legal lobbying and
the criminal conduct required to maintain [a] conviction for honest
services fraud;" and (2) he failed to effectively "demonstrate
that [McDonough's] normal professional activities included
lobbying all branches of government" and to show that McDonough
was "at all times acting within the boundaries of legal lobbying."
McDonough asserts that Mr. Drechsler should have done so by: (a)
confronting State Representative Robert Coughlin with prior
inconsistent statements on cross~examination; and (b) calling
Senator Joan Menard to rebut certain testimony given by Lally,
Memo. in Supp. of Petition ("Memo.") at 4-5, 19, 19-26.

In response to the Petition, the government requested that
the court find that McDonough waived attorney-client privilege by
filing his Petition; order Mr. Drechsler and counsel for DiMasi
and Vitale to disclose any information reasonably necessary to
enable the government to respond to the Petition; and extend the
deadline for the government to do so. §§§ United States' Motion
for Order Regarding Waiver of Attorney-Client Privilege and for
Extension of Time to File Response (Docket No. 857). McDonough
opposed that request. §§§ Response to Government Motion for Waiver
to Attorney-Client Privilege (Docket No. 863).

The court has reviewed McDonough's submissions, as well as
the pertinent portions of the record. It finds that the existing

record conclusively establishes that McDonough is not entitled to

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relief under §2255. As explained below, the decisions not to ca11
a lobbying expert, confront Representative Coughlin with past
inconsistent statements, or call Senator Menard did not constitute
ineffective assistance, and there is not a reasonable likelihood
that McDonough would have been acquitted if his counsel had done
so. Accordingly, the Petition is being denied. The government's
request for information from counsel for defendants is, therefore,
moot.
II. APPLICABLE LAW

A. 18 U.S.C. §2255 Proceedings

 

A prisoner in federal custody may collaterally attack his
conviction under 28 U.S.C. §2255. As the First Circuit has
explained:

Section 2255 contemplates four potential bases on which
a federal prisoner may obtain relief: (1) "that the
sentence was imposed in violation of the Constitution
or laws of the United States"; (2) "that the court was
without jurisdiction to impose such sentence"; (3)
"that the sentence was in excess of the maximum
authorized by law"; or (4) that the sentence "is
otherwise subject to collateral attack." 28 U.S.C. §
2255(a).

Damon v. United States, 732 F.3d 1, 3 (1st Cir. 2013) (quoting 28

 

U.S.C. §2255(a)). In an action under §2255, "[t]he burden of proof

is on the petitioner." Wilder v. United States, 806 F.3d 653, 658

 

(lst Cir. 2015), cert. denied, 136 S. Ct. 2031 (2016).
When a prisoner files a §2255 petition, 28 U.S.C. § 2255(b)

requires that:

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Unless the motion and the files and records of the case
conclusively show that the prisoner is entitled to no
relief, the court shall cause notice thereof to be
served upon the United States attorney, grant a prompt
hearing thereon, determine the issues and make findings
of fact and conclusions of law with respect thereto.

28 U.S.C. §2255(b). As the First Circuit wrote in United States v.
McGill, 11 F.3d 223 (1st Cir. 1993):

We have distilled these principles into a rule that
holds a hearing to be unnecessary "when a §2255 motion
(1) is inadequate on its face, or (2) although facially
adequate is conclusively refuted as to the alleged
facts by the files and records of the case." Moran v.
Hogan, 494 F. 2d 1220, 1222 (lst Cir. 1974). In other
words, a "§2255 motion may be denied without a hearing
as to those allegations which, if accepted as true,
entitle the movant to no relief, or which need not be
accepted as true because they state conclusions instead
of facts, contradict the record, or are 'inherently
incredible.'" Shraiar v. United States, 736 F.2d 817,
818 (1st Cir. 1984) (citations omitted).

 

Id. at 225-26 (some citations omitted); see also United States v.

 

Panitz, 907 F.2d 1267 (1st Cir. 1990); David v. United States, 134

 

F.3d 470, 478 (1st Cir. 1998) ("To progress to an evidentiary
hearing, a habeas petitioner' must do more than proffer gauzy
generalities or drop self-serving hints that a constitutional
violation lurks in the wings."). "Moreover, when...a petition for
federal habeas relief is presented to the judge who presided at
the petitioner's trial, the judge is at liberty to employ the

knowledge gleaned during previous proceedings and make findings

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based thereon without convening an additional hearing." McGill, 11

F.3d at 225.

B. Ineffective Assistance of Counsel

 

"The Sixth Amendment guarantees criminal defendants the right

to effective assistance of counsel." Lema v. United States, 987

 

F.2d 48, 51 (1993) (citing Strickland v. Washington, 466 U.S. 668

 

(1984)). "But the Constitution does not guarantee a defendant a
letter-perfect defense or a successful defense; rather, the
performance standard is that of reasonably effective assistance
under the circumstances then obtaining." ld; at 51. To succeed on
an ineffective assistance of counsel clahn, a petitioner must
demonstrate: (1) that "counsel's performance fell below an
objective standard of reasonableness"; and (2) that the petitioner
was prejudiced by his counsel's deficiency. Strickland, 466 U.S.

at 699-689; Argencourt v. United States, 78 F.3d 14, 16 (1st Cir.

 

1996).

"The first prong--constitutional deficiency--is necessarily
linked to the practice and expectations of the legal community:
The proper measure of attorney performance remains simply
reasonableness under prevailing professional norms." Hinton v.
Alabama, 134 S. Ct. 1081, 1088 (2014)(citations omitted).

"Judicial scrutiny of counsel's performance must be highly

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deferential," and "every effort [should] be made to eliminate the
distorting effects of hindsight." Strickland, 466 U.S. at 689. The
court "must indulge a strong presumption that counsel's conduct
falls within the wide range of reasonable professional assistance;
that is, the defendant must overcome the presumption that, under
the circumstances, the challenged action might be considered sound
trial strategy." ld; at 689. For the petitioner to prevail under
Strickland, a strategic choice must have been "so patently
unreasonable that no competent attorney would have made it."
Hensley v. Roden, 755 F.3d 724, 737 (1st Cir. 2014).

"The decision whether to call a particular witness is almost
always strategic, requiring a balancing of the benefits and risks
of the anticipated testimony." Lema, 987 F.2d at 54. When potential
testimony presents a "mixed bag" that might have a "possible
negative impact" on the defendant‘s case, the decision not to
elicit it is unlikely to be "patently unreasonable." Hensley, 755
F.3d at 737.

To show prejudice under Strickland, the petitioner must show
"a reasonable probability that but for counsel's unprofessional
errors, the result of the proceeding would have been different. A
reasonable probability is a probability sufficient to undermine
confidence in the outcome." 466 U.S. at 694. Counsel's errors

must be "so serious as to deprive the defendant of a fair trial,

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a trial whose result is reliable." Id. at 287. As the Court later
clarified:

[T]he question is not whether a court can be certain
counsel's performance had no effect on the outcome or
whether it is possible a reasonable doubt might have been
established if counsel acted differently. Instead,
Strickland asks whether it is "reasonably likely" the
result would have been different. This does not require
a showing that counsel's actions "more likely than not
altered the outcome," but the difference between
Strickland‘s prejudice standard and a more-probable-than-
not standard is slight and matters only in the rarest
case. The likelihood of a different result must be
substantial, not just conceivable.

Harrington v. Richter, 562 U.S. 86, 111-12 (2011). The court must

 

consider "the totality of the evidence before the judge or jury,"
accepting the factual findings unaffected by the errors and "taking
due account of the effect of the errors on the remaining findings."
Strickland, 446 U.S. at 695-96. It must then determine "whether
there is a reasonable probability that, absent the errors, the
factfinder would have had a reasonable doubt respecting guilt."
Hinton, 134 S. Ct. at 1089.

"Where, as here, a petitioner asserts that counsel failed to
introduce evidence or challenge the credibility of government
witnesses on cross-examination, [the First Circuit] consider[s]
three factors: 'first, the strength of the prosecution's case;
second, the effectiveness of the defense that was presented at
trial; third, the potential value of the new evidence and new

avenues for cross-examination in undermining the credibility of

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the government witnesses' testimony.'" Turner v. United States,

 

699 F.3d 578, 584 (1st Cir. 2012)(quoting Dugas v. Coplan, 506
F.3d 1, 9 (1st Cir.2007)).

"[T]here is no reason for a court deciding an ineffective
assistance claim to approach the inquiry in the same order or even
to address both components of the inquiry if the defendant makes
an insufficient showing on one." Strickland, 466 U.S. at 697.
"Addressing the prejudice prong prior to evaluating counsel's
conduct is a permissible approach and even endorsed where more

efficient." Gonzalez-Soberal v. United States, 244 F.3d at 273,

 

277-78 (1st Cir. 2001).
III. DISCUSSION

A. Failure to Call an Expert on Lobbying

 

As indicated earlier, McDonough argues that his counsel was
ineffective because he did not call at trial an expert to "address
the inherently blurry line" that separates legal lobbying from
conspiring to engage in honest services fraud. To find McDonough
guilty of the offense, the jury was required to find, among other
things, that McDonough intended that DiMasi be paid to influence
an official act, and not just to cultivate business or a political

friendship with him. See McDonough, 727 F. 3d at 160;2 see also

 

2 As the court instructed the jury, and McDonough does not now
contest, "it was not necessary for the government to prove that
the scheme involved making a specific payment for a specific
official act; rather, it would be sufficient if the government

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U.S. v. Sawyer, 85 F. 3d 713, 741 (1st Cir. 1996). McDonough
asserts that "an expert would have testified as to the wide range
of accepted legal lobbying behavior that is meant to encourage
friendship between [a lobbyist's] clients and decision makers."
Memo. at 17-18. In particular, he asserts that:
An expert would have testified that it was part of the
normal, accepted, and legal functioning of a lobbyist[:]
to use his connections in all branches of government to
present the benefits of his client's product and
services[;]...to discuss and urge the attributes of
legislation favorable to his clients within these same
branches of government[;]...[and to] hir[e] individuals

'close' to decision-makers to encourage friendship and
goodwill.

Defendants proposed, before trial, three experts who would
similarly testify to practices that were commonplace and, in the
witnesses' opinion, ethical in the business of lobbying. See Docket

No. 450. The court ruled that expert testimony concerning lobbying

 

proved beyond a reasonable doubt a scheme to make a series of
payments in exchange for DiMasi performing official actions
benefitting Lally or Cognos as opportunities arose or when DiMasi
was called upon to do so." DiMasi, 810 F. Supp. 2d at 356, aff'd,
McDonough, 727 F. 3d at 152-53.

To show that McDonough conspired to commit extortion under
color of official right, the government had to prove that he
conspired to "obtain a payment to which [DiMasi] was not entitled,
knowing that the payment was made in return for [DiMasi's] official
acts." McDonough, 727 F. 3d at 155. Because, as explained below,
there is no reasonable probability that the alleged ineffective
assistance would have created a reasonable doubt regarding the
charges of honest services fraud and a conspiracy to commit it,
the same is true for the conviction for conspiracy to commit
extortion. §d; at 156.

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could be given to a certain extent. §§§ April 20, 2011 Tr. at 38.
None of the three defendants ultimately called the expert witnesses
at trial. McDonough asserts that "an expert would have demonstrated
that Petitioner's conduct neither fell on the illegal side of the
line nor did his intent manifest a desire to inappropriately
compensate Speaker DiMasi in exchange for illegal acts." Memo. at
18.

An expert would not have been permitted to testify to
McDonough's intent. "In a criminal case, an expert witness must
not state an opinion about whether the defendant did or did not
have a mental state or condition that constitutes an element of
the crime charged or of a defense. Those matters are for the trier
of fact alone." F.R.E. 704(b). In addition, he or she would not
have been allowed to give a legal opinion, §ee 4-702 Weinstein's
Federal Evidence §702.03[3] (2018) (" Expert testimony is not
admissible to inform the trier of fact as to the law that it will
be instructed to apply to the facts in deciding the case. That is
a matter reserved exclusively for the trial judge."); Marx & Co.

V. Diner'S Club Inc., 550 F. 2d 505, 508-09 (2d Cir. 1977). The

 

expert would only have been allowed to testify "regarding the
routine practices of lobbyists." April 20, 2011 Tr. at 38; §§§
also Ma£x, 550 F. 2d at 509. The court found that such testimony
"w[ould] assist the jury in deciding [whether] the conduct at issue

in this case was routine lobbying or bribery." April 20, 2011 Tr.

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at 38; see also United States v. Henry, 848 F. 3d 1, 11-13 (1st
Cir. 2017)("Rule 704(b) bars a witness from characterizing the
defendant's intent, but it does not, however, apply to predicate
facts from which a jury might infer such intent."). However, the
court on April 20, 2011 only found that the testimony was
admissible, not that it would be persuasive, important, or helpful
to the defendants. See Daubert v. Merrell Dow Pharm., Inc., 509
U.S. 579, 596 (1993).

The decision of all defense counsel, including Mr. Drechsler,
not to call an expert to testify regarding the routine practices
of lobbyists was professionally reasonable. As the court stated in
denying McDonough's motion for acquittal, as the First Circuit
stated in affirming McDonough's conviction, and as the Supreme

Court recognized in Skilling v. United States, 561 U.S. 358, 407-

 

08 (2010), payments through a middleman to a public official in
exchange for the favorable exercise of his official powers
constitute the "paradigmatic" case of honest-services fraud.
DiMasi, 810 F. Supp. 2d at 361; McDonough, 727 F. 3d at 153. It is
likely that any expert would have testified on cross-examination
that using a middleman like Topazio as a conduit for secret
payments to a legislator who did nothing legitimate to earn them
is not a customary lobbying practice. Therefore, as in Hensley,
755 F.3d at 737, Mr. Drechsler could have reasonably decided that

an expert would have done more harm than good for McDonough, See

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also United States v. Turner, 793 F. Supp. 2d 495, 505 (D. Mass.

 

2011)(Saris, D.J.), aff;d, 699 F. 3d 578, 584 (1st Cir.
2012)(finding that a failure to elicit testimony that was "two-
edged sword" and could have harmed the defendant's case did not
make acquittal reasonably likely). Evidently, DiMasi's counsel,
Thomas Kiley and William Cintolo, and Vitale's attorney Martin
Weinberg, as well as Mr. Drechseler, reached this conclusion as
none of them called an expert on lobbying to testify.

In addition, it is not reasonably probable that expert
testimony describing routine lobbying practices would have
persuaded the jury to acquit McDonough. The court instructed the
jury several times that payments made "to cultivate a business or
political relationship" with a public official, or to compensate
someone for "lobby[ing] public officials, meaning to advocate
positions to public officials or to provide strategic advice to
clients seeking public contracts or for business advice," do not
support convictions for mail or wire fraud. DiMasi, 817 F. Supp.

2d at 18 (quoting June 13, 2011 Tr. at 42); see also McDonough,

 

727 F. 3d at 158. Specifically with regard to intent, the court
explained that a conviction for honest services fraud required
proof that payments were made to DiMasi "with the intent to
influence an official act and be received with the intent to be
influenced in an official act." DiMasi, 810 F. Supp. 2d at 356, It

instructed, based on Sawyer, 85 F. 3d at 720-21, that:

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[I]n this case it would not be enough if the government
proves only that a defendant genuinely believed that
Cognos and/or Lally made the payments at issue only to
cultivate a business or professional relationship with
DiMasi or to express gratitude for something DiMasi had
done. In other words, if the defendant knew of any of the
payments at issue and had a sincere good faith belief
that they were being made only for one of these legitimate
purposes, he would not be guilty of mail or wire fraud
even if that belief was erroneous.
DiMasi, 817 F. Supp. 2d at 18, aff'd McDonough, 727 F. 3d at 156-
58. The jury is presumed to have followed these instructions and,
therefore, to have understood that McDonough could not be convicted
based only on advocacy, providing a gratuity, or making payments
to cultivate a business or professional relationship. See Weeks v.
Angelone, 528 U.S. 225, 234 (2000). In view of the instructions,
which went beyond what was required, see DiMasi, 817 F. Supp. 2d
at 19, and the limitations on admissible testimony, an expert would
have added little, if anything, to the jury's understanding of the
line between legal lobbying and illegal bribes.

In any event, such testimony would have had slight relevance,
if any, to the facts. The evidence at trial demonstrated that
McDonough's conduct went far beyond "us[ing] his connections...to
present the benefits of [Cognos'] product," "urg[ing] the
attributes of legislation favorable to [Cognos]," or "hiring

individuals 'close' to decision-makers to encourage friendship and

goodwill." Id.

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In denying McDonough's motions for a new trial and a stay of
his sentence pending appeal, the court found "overwhelming"
evidence that McDonough directed Lally to pay DiMasi to exercise
his official powers to benefit Cognos, and not merely to cultivate
a friendship with him. DiMasi, 817 F. Supp. 2d at 21. The bribes
were covertly funneled to DiMasi through sham retainer fees for
legal services Topazio was not expected to perform and did not
perform. ld; at 16; see §1§2 DiMasi, 810 F. Supp. 2d at 356, 358.
The majority of the payments to Topazio were taken by DiMasi, who
also did no legal work to earn them. ld; at 357. The government
proved these payments were "quid pro quo bribery." DiMasi, 817 F.
Supp. 2d at 16. The First Circuit agreed that "there can be little
doubt that the Topazio contract was a sham. It first called for
the performance of services that Topazio ordinarily did not render
and then ultimately paid him for doing no work." 727 F. 3d at 154.
In addition, Lally testified that he used the purported retainer
agreement to "funnel money to the Speaker DiMasi...to gain favor
with the Speaker, to have him help [Cognos] close software, cut
deals, and obtain funding for us." DiMasi, 817 F. Supp. 2d at 16
n. 39 (quoting May 18, 2011 Tr. at 33-34).

There was additional evidence that McDonough knew the
retainer contract was a concealed bribe. Topazio testified that
McDonough proposed it as a "way[] to get money to DiMasi," and

later arranged a six-month extension of it while DiMasi was working

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to secure a state contract for Cognos. §§§ DiMasi, 810 F. Supp. 2d
at 356, 358. Several months after the payments to Topazio began,
Lally told McDonough that it was "time for [the relationship with
Topazio] to pay off." DiMasi, 817 F. Supp. 2d at 16. Lally also
testified that McDonough later told hin\ to pay an additional
$100,000 each to McDonough and Vitale "to get the Speaker to
get...the funding [for Cognos] through." 810 F. Supp. 2d at 358
(quoting May 18, 2011 Tr. at 57). McDonough also told Lally that
the $100,000 was going to be funneled to DiMasi in the form of a
line of credit from Vitale and it was. ld; Lally testified that
during a golf game while DiMasi was still acting to assure that
the allocation for the software contract remained in the state
budget, DiMasi said to McDonough, "I am only going to be Speaker
for so long, so it is important that we make as much hay as
possible." ;d; at 359 (quoting May 18, 2011 Tr. at 64). McDonough
reacted by giving Lally a "high-five" and saying, "how about that,
You got the Speaker telling you something like that." lg;

Other evidence confirmed that the coconspirators, including
McDonough, knew that Lally's payments to DiMasi were illegal
bribes. DiMasi asked Topazio to forward him a $25,000 payment from
Cognos in four, small checks purportedly written on different dates
instead of one lump sum, and later suggested that Topazio lose the
part of his checkbook recording the transaction. §§e DiMasi, 810

F. Supp. 2d at 359-60. After Boston Globe reporters raised

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questions about the Cognos contract, McDonough and Lally would
frisk each other whenever they met to ensure that neither was
"wearing a wire" to record their conversation. ld; at 360;
McDonough, 727 F. 3d at 151. DiMasi told McDonough, Lally, and
Vitale that "if one of us breaks, we all fall." ;d;

Based on this evidence, this court found that, as in United
States v. Potter, 463 F. 3d 9, 18-19 (1st Cir. 2006), "the risk of
the jury confusing a distasteful gratuity for an illegal bribe did

not exist...as it had in Sawyer I." DiMasi, 817 F. Supp. 2d at 19.

 

"The $65,000 received by DiMasi personally" disguised as a sham
retainer for which no legal work was ever requested or performed,
"could not be confused with a mere gratuity" or "viewed as a way
to cultivate friendship." ld; In contrast to Sawyer, this case did
not involve small gifts such as tickets, trips, and meals, but
rather large payments made covertly to DiMasi from Cognos with
"overwhelming evidence that the payments to DiMasi through Topazio
were part of a conspiracy" to buy the use of DiMasi's official
powers. ld; at 21; McDonough, 727 F. 3d at 153 ("We conclude that
a rational jury could easily find beyond a reasonable doubt that
DiMasi and McDonough took part in a scheme that saw DiMasi exchange
his official acts for money."). As a result, this court found that
the evidence did not require the instruction that cultivating
friendship by means of gifts was not honest services fraud, but it

gave the instruction anyway. See DiMasi, 817 F. Supp. 2d at 19

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(citing Potter, 463 F. 3d at 18-19). In addition, it found that
the sufficiency of the evidence was not a close question. ld; at
15.

In view of the foregoing, the lack of expert testimony
explaining that making gifts or hiring individuals close to
politicians to "cultivate friendships" was routine, and of
additional evidence that McDonough engaged in some legal lobbying,
does not undermine the court's confidence in the verdict. As just
explained, McDonough's conviction rests on overwhelming evidence
that he "knew that Cognos was not hiring Topazio to do legal or
lobbying work" and that "it was DiMasi as Speaker who had been
retained..." DiMasi, 810 F. Supp. 2d at 364. As indicated earlier,
unlike the occasional gift of a meal or a trip, large "payments
through a middleman for the benefit of a public official," which
McDonough "orchestrated," are "a 'paradigmatic' and 'classic' case
of an honest services fraud scheme." ld; at 361-62. As the First
Circuit wrote in affirming McDonough's conviction, "[t]hese
actions fit comfortably into what the Supreme Court has described
as a 'classic kickback scheme,' in which a public official uses a
middleman to help another entity--here, Lally and Cognos--generate
revenue or commissions and the proceeds are shared with the
official and the middleman." McDonough, 727 F. 3d at 153; §§§ §l§g
Skilling, 561 U.S. 358, 407-08. McDonough's proven conduct crossed

far beyond any "blurry" line between legal lobbying and fraud. At

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most, the proposed expert testimony, and the potential testimony
discussed below, would have confirmed that McDonough engaged in
some legal lobbying in addition to his participation in the
conspiracy to covertly channel unlawful payments to DiMasi. This
possibility does not justify vacating McDonough's conviction,

B.Failure to Elicit Testimony from Representative
Coughlin and Senator Menard Regarding McDonough's

Lobbying Efforts

As the second basis for McDonough's claim of ineffective
assistance of counsel, McDonough argues that Mr. Drechsler "failed
to demonstrate that [McDonough] was engaged in legal lobbying by
informed cross examination of government witnesses"--and in
particular, Representative Coughlin. Memo. at 20. Representative
Coughlin testified that at the request of DiMasi's legal counsel,
Daniel Toscano, he introduced a budget amendment to fund a multi-
million dollar state contract with Cognos. He indicated that he
was "honored" to be asked by DiMasi's office to propose the
amendment. §§§ May 17, 2011 Tr. at 115. He also testified that he
did not communicate with McDonough regarding the amendment. ld; at
125. McDonough asserts that Representative Coughlin testified
differently to the grand jury by stating that it was McDonough's
lobbying efforts, not DiMasi's legal counsel, that persuaded him
to file the budget amendments. Memo. at 11-12 n. 2.

McDonough argues that Mr. Drechsler should have confronted

Representative Coughlin with this purportedly contradictory grand

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jury testimony on cross examination. He asserts that it would have
revealed McDonough's ability to legally and successfully lobby the
legislature, and would have undermined the government's contention
that McDonough relied on bribes to DiMasi to get essential
legislation enacted. LQL In support, McDonough submits an email
from his appellate counsel, Martin Weinberg, stating that he spoke
to Representative Coughlin on or about January 27, 2014, According
to Mr. Weinberg's email, Representative Coughlin stated that
McDonough, "not Sal/Toscano, delivered the language" for the
budget amendment, and that Representative Coughlin advised counsel
for defendants of this fact before his examination at trial, but
none of them elicited it from him on cross-examination. §§e Memo
Exhibit A (Docket No. 851 at 32 of 66).3

McDonough also argues that his counsel should have called
Senator Joan Menard to testify to additional, purportedly legal
lobbying efforts by McDonough. According to McDonough, Senator
Menard would have testified that in a meeting, in which Lally also
participated, McDonough asked her to file the budget amendment in
the Senate and proposed language for the amendment that matched

the version that had passed in the House of Representatives.

 

3 To the email, Mr. Weinberg attached a draft of an affidavit of
Representative Coughlin, which is unsigned and, therefore, not a
statement by Coughlin entitled to any weight. Memo Exhibit A at
34.

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According to McDonough, she also would have testified that "this
was consistent with the customary practice of lobbying and the
funding of budget appropriations." Memo. at 25. McDonough asserts
that this would have impeached Lally's testimony, on cross-
examination by DiMasi's counsel, that McDonough never asked the
Senator to file the budget amendments at issue. §§§ May 20, 2011
Tr. at 18-19. He asserts that Senator Menard's testimony would
have demonstrated that McDonough was "at all times acting as a
lobbyist within the accepted parameters of his profession" and did
not "lean[] solely on House Speaker DiMasi to run his clients'
priorities through the appropriations process." Memo. at 25.

Even if Mr. Drechsler had. reason to know that McDonough
drafted the budget amendment and lobbied Representatives Coughlin
and Senator Menard for its passage, his decision not to elicit
that testimony through either individual was reasonable. Mr.
Drechsler could have reasonably decided that such testimony, as
well as that of a lobbying expert, would have harmed McDonough's
defense. §§§ Hensley, 755 F.3d at 737; Turner, 793 F. Supp. 2d at
505. In particular, the jury could have considered the testimony
concerning Representative Coughlin as additional evidence that
McDonough collaborated with DiMasi, who had been bribed, and his
staff in the effort to obtain funds for Cognos. The fact that
McDonough did not bribe Senator Menard would not have been

meaningful evidence of whether he had participated in an illegal

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scheme to pay DiMasi for the use of his official powers. Mr.
Drechsler did not call Senator Menard, and reasonably decided to
use his cross-examination of Representative Coughlin to establish
that McDonough had advocated and, proposed drafts of bills to
Representative Coughlin in the past, and that this was a typical
lobbying practice. §§e May 17, 2011 Tr. at 121-25.4

Moreover, for similar reasons, it is not reasonably probable
that the possible additional testimony from Representative
Coughlin and Senator Menard would have changed the verdict. It
would not have caused the jury to disbelieve Lally's testimony,
which the jury credited despite "intensive, skillful cross
examination" attacking his credibility. DiMasi, 810 F. Supp. 2d at

363; see also McDonough, 727 F. 3d at 154. In addition, "because

 

Lally was an immunized, cooperating witness with a motive to lie
to strengthen the government's case and thus enhance his hope of
getting a reduced sentence, the jury was instructed to examine his
testimony with care and rely on it with caution." DiMasi, 810 F.
Supp. 2d at 363. The cross-examination persuaded the court, and
likely the jury, that "Lally had a long history of being an

unsavory, dishonest businessman who would do almost anything to

 

4 In addition, on direct-examination, Lally gave the testimony
McDonough sough to elicit from Senator Menard, stating that the
purpose of the meeting he and McDonough had with Senator Menard
was to advocate for the proposal of a budget amendment in the
Senate. §§§ Tr. at May 18, 2011 at 74-75.

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make money." ld; However, Lally's immunity agreement, which
provided that he could be prosecuted for perjury, gave him an
incentive to tell the truth at trial. ld; More significantly, much
of Lally's testimony was corroborated by contemporaneous email
messages and telephone records, as well as by the testimony of
other witness and other evidence. ld;

Therefore, as indicated earlier, Mr. Drechsler's decision not
to elicit additional testimony from an expert, Representative
Coughlin, and Senator Menard does not undermine the court's
confidence in the outcome of the trial. More specifically, the
court is confident that the jury would still have found that
Lally's testimony, along with the government's other evidence,
established that "McDonough was the trusted intermediary at the
hub [of the charged conspiracy], orchestrating an effort to
insulate the conspirators from being held accountable for their
scheme to exchange the use of DiMasi's official powers for payments
from Cognos and Lally." ld; at 362. "Even if Lally's testimony was
disbelieved and given no weight, the credible evidence support[ed]
both the court's Petrozziello rulings [finding by a preponderance
of the evidence that McDonough and his co-defendants committed the
conspiracy] and the jury's verdicts." ld; at 364. There is no
reasonable probability that the proposed evidence of McDonough's
legal lobbying efforts would have produced a reasonable doubt

concerning whether McDonough also conspired to bribe DiMasi,

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In view of the foregoing, the Petition must be denied.

IV. CERTIFICATE OF APPEALIBILITY

Rule 11(a) of the Rules Governing Section 2255 Proceedings
requires that "The district court must issue or deny a certificate
of appealability ["COA"] when it enters a final order adverse to
the applicant." A COA will issue "only if the applicant has made
a substantial showing of the denial of a constitutional right." 28

U.S.C. §2253(€)(2); see Miller-El v. Cockrell, 537 U.S. 322 (2003).

 

The applicant "must show that reasonable jurists could debate
whether (or, for that matter, agree that) the petition should have
been resolved in a different manner or that the issues presented
were 'adequate to deserve encouragement to proceed further.'" ;d;
at 336. A claim "can be debatable even though every jurist of
reason might agree, after the COA has been granted and the case
has received full consideration, that petitioner will not
prevail." ld; at 338. However, "a prisoner seeking a COA must prove
something more than the absence of frivolity or the existence of
mere good faith on his or her part." Lg; at 337. The "issuance of
a COA must not be prp fgrma or a matter of course" because by
enacting the Anti-Terrorism and Effective Death Penalty Act
"Congress confirmed the necessity and the requirement of
differential treatment for those appeals deserving of attention

from those that plainly do not." Id.

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The court finds that reasonable jurists could not debate the
conclusions that McDonough is not entitled to discovery or a
hearing concerning his claims, and that those claims are
unmeritorious. Therefore, a COA is also being denied.

V. ORDER

Accordingly, it is hereby ORDERED that:

1. McDonough's Motion under 28 U.S.C. §2255 to Vacate, Set
Aside, or Correct his Sentence (Docket No. 850) is DENIED.

2. A Certificate of Appealability is DENIED.

3. The United States' Motion for Order Regarding Waiver of
Attorney-Client Privilege and for Extension of Time to File

Response (Docket No. 857) is MOOT.

UNITED szTEs DISTRICT JUDGE

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